  Case 2:01-cr-80361-GCS ECF No. 211, PageID.991 Filed 08/27/07 Page 1 of 2

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


JOHN DEJUAN HATCHER,

                     Petitioner,

                                                         Case No. 05-CV-74194
vs.                                                      HON. GEORGE CARAM STEEH
                                                         Crim. No. 01-CR-80361

UNITED STATES OF AMERICA,

                     Respondent.

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                ORDER DENYING CERTIFICATE OF APPEALABILITY

       On June 28, 2006, the court dismissed petitioner John DeJuan Hatcher's 28 U.S.C.

§ 2255 motion, and denied a certificate of appealability with respect to that decision. See

June 28, 2006 Order (Dkt. No. 186). On April 5, 2007, the court denied Hatcher's motion

for reconsideration of the June 28, 2006 Order. See April 5, 2007 Order (Dkt. No. 207).

Before Hatcher may appeal the court's denial of his motion for reconsideration, a certificate

of appealability must issue. 28 U.S.C. §2253(c)(1)(B); Fed. R. App. P. 22(b). A certificate

of appealability may issue "only if the applicant has made a substantial showing of the

denial of a constitutional right." 28 U.S.C. §2253(c)(2). Hatcher has made no such

showing, either in his § 2255 motion or motion for reconsideration.          Accordingly, a

certificate of appealability is hereby DENIED.

       SO ORDERED.

Dated: August 27, 2007
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE
Case 2:01-cr-80361-GCS ECF No. 211, PageID.992 Filed 08/27/07 Page 2 of 2


                             CERTIFICATE OF SERVICE

              Copies of this Order were served upon attorneys of record on
                  August 27, 2007, by electronic and/or ordinary mail.

                                 s/Josephine Chaffee
                                     Deputy Clerk




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